AO 121 (     6/   )
TO:

                                                                                                       REPORT ON THE
                                                                                               FILING OR DETERMINATION OF AN
                                                                                                      ACTION OR APPEAL
                                                                                                   REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                         COURT NAME
                                                                         Richard      AND LOCATION
                                                                                  B. Russell Federal Building!
        G
        ✔ ACTION               G APPEAL                                  2211 United States Courthouse!
DOCKET NO.                          DATE FILED                           75 Ted Turner Drive, SW!
    1:21-cv-4802-TCB                          11/19/2021                 Atlanta, GA 30303-3309!

!PLAINTIFF                                                                            !DEFENDANT
PREPARED FOOD PHOTOS, INC. F/K/A ADLIFE                                               BILT ENTERPRISES LLC d/b/a J.R. CRICKETS
MARKETING & COMMUNICTIONS CO. INC.                                                    NORTHLAKE; BILLY WILLIAMS, individually; and DOES
                                                                                      1-10, inclusive


        COPYRIGHT
                                                                TITLE OF WORK                                              AUTHOR OR WORK
     REGISTRATION NO.

1 VA 2-017-741                      ADLIFE-COLLECTION-091516                                                    Prepared Food Photos, Inc.

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      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                       INCLUDED BY
                                             G Amendment                 G Answer               G Cross Bill           G Other Pleading
        COPYRIGHT
                                                                TITLE OF WORK                                              AUTHOR OF WORK
     REGISTRATION NO.

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    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                    WRITTEN OPINION ATTACHED                                     DATE RENDERED

           G Order             G Judgment                                     G Yes        G No

CLERK                                                            (BY) DEPUTY CLERK                                            DATE
     KEVIN P. WEIMER                                                                                                          11/19/21
                                                                   s/ Elaine Pettway

                      1) Upon initiation of action,               2) Upon filing of document adding copyright(s),     3) Upon termination of action,
                         mail copy to Register of Copyrights         mail copy to Register of Copyrights                  mail copy to Register of Copyrights
DISTRIBUTION:
                      4) In the event of an appeal, forward copy to Appellate Court               5) Case File Copy
